.   ê           Case 2:11-cr-00327-JCM-CWH          Document 77    Filed 08/22/12        Page 1 of 3



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         4                                                                 Dlsllx rœ NEVK A
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         6                            UNITED STATES DISTRICT CO URT

         7                                    DISTR ICT O F N EVA D A

         8 UNITED STATESOF AM ERICA,                      )
                                                          )
         9                       Plaintiff,               )
                                                          )
        10         v.                                     )        2:1I-CR-3Z7-PM P-ICW H)
                                                          )
        11 MICHAEL CLYDE DUTY,                            )
                                                          )
        12                       Defendant.               )
        13                        PREL IM IN A R Y O R DER O F FO R FEITU R E
        14        ThisCourtfindsthatonAugust22,2012,defendantM ICHAEL CLYDE DUTY,pled guilty

        15 to CotlntTwo ofaN ine-cotmtCrim inalIndictm entcharging him in CountTwo with Conspiracy
        16 to Unlawfully Dealin Firearm s in violation ofTitle 18,United States Code,Sections 371 and

        17 922(a)(1).CriminalIndictmentsECFNo.1.
        18        n isCourtfindsdefendantM ICHAELCLYDE DUTY agreedtotheforfeitureoftheproperty
        19 setforth in ForfeitureAllegationsoftheCriminalIndictmentandthePleaM em orandum . Crim inal

        20 Indictm ent,ECF N o.1.

        21         n isCourtfinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),the United Statesof
        22 Americahasshow ntherequisitenexusbetween property setforth in the Forfeim reAllegationsof
        23 the Crim inallndictm entand thePlea Agreem entand the offense to which defendantM ICHAEL

        24 CLYDE DUTY pled guilty.
        25

        26
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     1          The following assetsare subjectto forfeiturepursuantto Title 21,United States Code,
     2 Sections853(a)(1),(a)(2),and(.
                                    p);arldTitle18,UnitedSotesCode,Section924(d)(1)andTitle28,
     3 UnitedStatesCode,Section2461(c):
     4          (a)   M averkkmodel88,12 gaugeshort-barreledshotgun,serialnumber51V049340;
     5          (b)    Mossberg,model500A,l2gaugeshotgtm,serialnumberL244961;
     6          (c)    IntratecM odelTec-g,9mm.serialnumber23988;
     7          (d)    RussianSKS7.62X39rifle,withbayonet,serialnumber9937905)
     8          (e)   Beretta,model92F5 Compact9mm pistol,serialnumberE31982Z;
     9          (9    ahomemadeM ac-lltypegmm.pistol;
    10          (g)   Keltic,CNC Industlies,lnc.P11pistol9mm,serialnumberASK6O;
    11          09    anyandallnmmunition;
    12          (i)   an in personam criminalforfeituremoneyjudgmentof$900.00 in United States
    13          Currency;and

    14          (j)   an in personam criminalforfeiture moneyjudgmentof$300.00 in United States
    15          Currency(ttpropert/')                                                                  '
    16          ThisCourttindstheUnited StatesofAmerica isnow entitled to,and should,reducethe

    17 atbrem entioned property to thepossession oftheUnited StatesofAmerica.

    18          NOW THEREFORE,IT ISHEREBY ORDERED,ADJUDGED,AND DECIIEED thatthe
    19 United StatesofAm ericashould seize the aforem entioned property.

    20          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED a1lright,title,and interestof
    21   M ICHAEL CLYDE DUTY intheaforem entionedpropertyisforfeited and isvested in theUnited
    22 StatesofAm ericaand shallbesafelyheld bytheUnited StatesofAmericatmtilfuztherorderofthe

    23 Court.
    24          IT IS FU RTH ER O RD ERED ,A D JU D G ED ,AN D D ECREED theu nited StatesofA m erica

    25 shallpublishforatleastthirty(30)consecutivedaysontheofficialintem etgovernmentforfeiture
    26 website,wwm forfeitttre.gov,noticeofthisOrder,which shalldescribetheforfeitedproperty,state
             Case 2:11-cr-00327-JCM-CWH           Document 77          Filed 08/22/12   Page 3 of 3

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     1 thetim eundertheapplicablestatutewhen apetitioncontestingtheforfeituremustbefiled,andsGte

     2 the name mld conGct inform ation for the government attom ey to be sezved with the petition,        '

     3 pursuanttoFed.R.Crim.P.32.2(b)(6)andTitle21,UnitedSutesCode,Section853(n)(2).
     4          IT IS FURTHER ORDERED,ADJUD GED,AND DECREED a petitionsifany,mustbe
     5 filed with the Clerk ofthe Couzt 333 LasVegasBoulevard South,LasVegas,N evada 89101.
     6          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED acopy ofthepetition,ifany,
     7 shallbe served upon the A ssetForfeiture Attom ey of the U nited States A ttorney's O ftk e atthe

     8 following addressatthetim eofliling:
     9                 M ichaelA.Hum phreys
                       AssistantUnited StatesAtlorney
    10                 DanielD.Hollingsworth
                       AssistantU nited States Attorney
    11                 Lloyd D,GeorgeUnited StatesCourthouse
                       333 LasVegasBoulevard South,Suite 5000
    12                 L&s V egas,N evada 89101.

    13          IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thenotice described herein                          !
    14 need notbepublished in the eventaDeclaration ofForfeiture isissued by theappropriate agency             i
                                                                                                               j
                                                                                                               I
    15 following publication ofnoticeofseizureand intentto adm inistratively forfeittheabove-described

    16 property.
    17          DA TED this r     M day of             . '         ,   2012.
    18                                                '
                                                               '
    l9                                                         j

    20                                                             ATES DISTRICT JUDOE
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